67 F.3d 306w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.In re George GOLDMAN, a/k/a Ellis George Goldman, Debtor.George GOLDMAN, a/k/a Ellis George Goldman, Debtor, Appellant,v.Duke SALISBURY, Trustee, Appellee.
    No. 94-55489.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Sept. 12, 1995.Decided Oct. 4, 1995.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    